            Case 3:21-cv-05433-TSZ-SKV Document 62 Filed 10/19/21 Page 1 of 2




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                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 7

 8   BRANDON R. SULLIVAN,

 9                              Plaintiff,                 Case No. C21-5433-TSZ-SKV

10          v.                                             ORDER GRANTING DEFENDANTS’
                                                           MOTION TO STRIKE NOTING DATE
11   WILLIAM AURICH et al.,                                AND STAY CONSIDERATION OF
                                                           PLAINTIFF’S MOTION FOR
12                              Defendant.                 PARTIAL SUMMARY JUDGMENT

13

14          This is a 42 U.S.C. § 1983 prisoner civil rights action. This matter comes before the

15   Court on Defendants’ Motion to Strike Noting Date and Stay Consideration of Plaintiff’s Motion

16   for Partial Summary Judgment, Dkt. 58.

17          On August 27, 2021, Defendants William Aurich and Eric Nelson filed a Motion for

18   Judgment on the Pleadings, arguing Plaintiff has failed to state a plausible claim for relief against

19   them. See Dkt. 27. Defendants’ Motion noted on September 24, 2021, and is still pending

20   before the Court. On October 4, 2021, Plaintiff filed a Motion for Partial Summary Judgment

21   against Defendants Aurich and Nelson. See Dkt. 46. On October 7, 2021, Defendants Aurich

22   and Nelson filed the present Motion asking the Court to strike the noting date for Plaintiff’s

23   Motion for Partial Summary Judgment and stay consideration of the same until after the Court

     ORDER GRANTING DEFENDANTS’ MOTION
     TO STRIKE NOTING DATE AND STAY
     CONSIDERATION OF PLAINTIFF’S MOTION
     FOR PARTIAL SUMMARY JUDGMENT - 1
            Case 3:21-cv-05433-TSZ-SKV Document 62 Filed 10/19/21 Page 2 of 2




 1   has ruled on Defendants’ Motion for Judgment on the Pleadings. See Dkt. 58. Defendants argue

 2   it would be a “waste of time and resources for the parties to brief Plaintiff’s Motion for Partial

 3   Summary Judgment if Plaintiff has failed to even state a claim in his Complaint that is plausible

 4   on its face.” Id. at 1–2. Plaintiff filed no opposition to Defendants’ Motion.

 5          As such, the Court hereby ORDERS as follows:

 6          Defendants’ Motion to Strike Noting Date and Stay Consideration of Plaintiff’s Motion

 7   for Partial Summary Judgment, Dkt. 58, is GRANTED. The Clerk is directed to strike the noting

 8   date for Plaintiff’s Motion for Partial Summary Judgment, Dkt. 46. The Court will renote

 9   Plaintiff’s Motion as appropriate following its ruling on Defendants’ Motion for Judgment on the

10   Pleadings, Dkt. 27. The Clerk is also directed to send copies of this Order to the parties and to

11   the Honorable Thomas S. Zilly.

12          Dated this 19th day of October, 2021.

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                                                           A
                                                           S. KATE VAUGHAN
16                                                         United States Magistrate Judge

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     ORDER GRANTING DEFENDANTS’ MOTION
     TO STRIKE NOTING DATE AND STAY
     CONSIDERATION OF PLAINTIFF’S MOTION
     FOR PARTIAL SUMMARY JUDGMENT - 2
